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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) JOHAN A. VAN WEELDEN,

               Plaintiff,

v.                                                Case No. CIV-14-47-C


(1) EQUAL ENERGY LTD., ET AL.,

               Defendants.

                                         ORDER

        This cause is before the Court on the Motion of Defendants Equal Energy, Ltd.,

Kyle Travis, Lee Canaan, and Michael Coffman, to admit James E. Howard to practice

before this Court pro hac vice [Doc. 12]. The Court finds that the motion should be

granted.

        IT IS THEREFORE ORDERED that James E. Howard be admitted to practice

before this Court for the purpose of appearing in the above-styled case, provided counsel

submits his ECF registration form and files an entry of appearance, consistent with LCvR

83.4.

        IT IS FURTHER ORDERED that the admission of James E. Howard is

conditioned on the continued appearance in the case of an active member of the

Oklahoma Bar Association, resident of the State of Oklahoma, upon whom service of all

matters connected with this action may be made with the same effect as if made upon Mr.

Howard within the State of Washington.
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         Dated this 14th day of May, 2014.




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